Case 1:21-cv-00755-MKB-RER Document 20 Filed 07/01/21 Page 1 of 1 PageID #: 183




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                                                        July 1, 2021
 VIA FIRST CLASS MAIL and ECF

 Hon. Margo K. Brodie
 Chief United States District Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East, Room N 626
 Brooklyn, NY 11201

          Re:      Klimovitsky v. JG Innovative Industries, Inc., et al.
                   Case No. 21-CV-755 (MKB)(RER)

 Dear Chief Judge Brodie:

        This firm represents the defendants in the above-referenced action. Defendants’ motion
 to dismiss has now been fully briefed and the parties have electronically filed all of the motion
 papers today via the ECF system. Pursuant to Rule 3(D) of Your Honor’s Individual Practices
 and Rules, I have enclosed herewith a full set of courtesy copies of the motion papers.
 Specifically, courtesy copies of the following documents are enclosed herewith:

                        •   Defendants’ Notice of Motion to Dismiss;
                        •   Declaration of Anat Geula in Support (with exhibit(s) thereto);
                        •   Defendants’ Memorandum of Law in Support (with exhibit(s) thereto);
                        •   Plaintiff’s Memorandum of Law in Opposition; and
                        •   Defendants’ Reply Memorandum of Law.

        Pursuant to Your Honor’s Individual Practices and Rules, a copy of this cover is also
 being sent to Magistrate Judge Reyes and Plaintiff’s counsel.

                                                        Respectfully Submitted,

                                                           /s/Nils C. Shillito

                                                        Nils C. Shillito (NS-6755)
 Enclosures

 cc:      Shalom Law, PLLC (via email)

          Hon. Ramon E. Reyes, Jr., USMJ (via first class mail)
